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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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   10 WILLIAMS MEARS, individually and             CASE NO.: CV 15-08441 JAK (AJWx)
      as successor in interest to Michael          Consol. w/ CV 15-09586 JAK (AJWx)
   11 Mears; and JOANNA WYSOCKI,
   12 individually and as successor in interest    JUDGMENT
      to Michael Mears,
   13                                              JS-6
   14                    Plaintiffs,

   15        vs.
   16
      CITY OF LOS ANGELES, a
   17 municipality; STEVEN BEUMER, an
   18 individual; JOSE PEDROZA, an
      individual; JONATHAN GAN, an
   19 individual; JOHN SEFFEL, an
   20 individual; and AUDREY WILKINS,
      an individual,
   21
   22                  Defendants.
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   24
   25        Pursuant to the verdict of the jury in this matter, IT IS ORDERED,

   26 ADJUDGED AND DECREED that final judgment in this action be entered as
      follows:
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    1         Total judgment in the sum of $5,500,000, plus costs pursuant to Federal Rule
    2 of Civil Procedure 54(d)(1), interest calculated from the date of the November 13,
    3 2017 Verdict at the rate specified by 28 U.S.C. §1961, and reasonable attorney’s
    4 fees, is entered against Defendants City of Los Angeles and Jonathan Gan in favor
    5 of Plaintiffs William Mears and Joanna Wysocki. Plaintiffs William Mears and
        Joanna Wysocki are the prevailing parties and may apply to the Court for an award
    6
        of costs and reasonable attorney’s fees as permitted by applicable law.
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              IT IS SO ORDERED.
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   10 Dated: May 30, 2018                     __________________________________
                                              JOHN A. KRONSTADT
   11                                         UNITED STATES DISTRICT JUDGE
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